           Case 2:12-cr-00139-RMP         ECF No. 80       filed 10/21/15       PageID.322 Page 1 of 2
PROB 12C                                                                             Report Date: October 20, 2015
(7/93)

                                       United States District Court

                                                       for the

                                        Eastern District of Washington

                   Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Jesse Ashton Ramos                       Case Number: 0980 2:12CR00139-RMP-2
 Address of Offender:                                       ,Wellpinit, Washington 99040
 Mailing Address:                  Wellpinit, Washington 99040
 Name of Sentencing Judicial Officer: The Honorable Rosanna Malouf Peterson, Chief U.S. District Judge
 Date of Original Sentence: May 28, 2013
 Original Offense:        Theft from an Indian Tribal Organization Under $1,000, 18 U.S.C. § 1163
 Original Sentence:       Probation: 60 months              Type of Supervision: Probation
 Asst. U.S. Attorney:     Caitlin A. Baunsgard              Date Supervision Commenced: May 28, 2013
 Defense Attorney:        Federal Defenders Office          Date Supervision Expires: May 27, 2018


                                         PETITIONING THE COURT

                 To issue a summons.

The probation officer believes that the offender has violated the following condition of supervision:


Violation Number        Nature of Noncompliance

            1           Special Condition # 14: You shall complete 240 hours of community service work, at the
                        rate of not less than 20 hours per month at a not-for-profit site approved in advance by the
                        supervising probation officer. The hours are to be completed in full no later than July 1,
                        2014.

                        Supporting Evidence: As of the date of this violation report, Mr. Ramos has submitted
                        documentation indicating he has completed 192.25 hours of community service.

The U.S. Probation Office respectfully recommends the Court issue a summons requiring the defendant to appear
to answer to the allegations contained in this petition.

                                           I declare under penalty of perjury that the foregoing is true and correct.
                                                             Executed on:     October 20, 2015
                                                                              s/Erik Carlson
                                                                              Erik Carlson
                                                                              U.S. Probation Officer
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Prob12C
Re: Ramos, Jesse Ashton
October 20, 2015
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 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ X]     Other



   No later than fourteen days after the date of this Order, Mr. Ramos is ordered to
   provide a written explanation to his supervising probation officer as to why he has not
   yet completed his hours of community service, along with a particularized plan as to
   how Mr. Ramos will complete his required hours of community service.




                                                         ___________________________
                                                           Signature of Judicial Officer
                                                              October 21, 2015
                                                         __________________________
                                                           Date
